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lN THE UNITED sTATEs DISTRICT CooRT !f-’ll£r) sav _‘_s D.c.
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wEsTERN DIVISIoN 05 AUG l | PH |= 59
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sHELBY CoUNTY HEALTH 915§1§§§1§ 5 1§“1__1?;’§`1 COUHT
CARE CoRPoRATIoN d/b/a 1 1115

REGIONAL MEDICAL CENTER,
Plaintiff,
VS. NO. 2:05-CV-2507

DANELLA VAUGH and
TRICARE,

Defendant, Cross-Plaintiff,
VS.
TRICARE and SHELBY COUNTY

HEALTH CARE CORPORATION
d/’o/a REGIONAL MEDICAL CENTER,

\_/\_/\_/\_/\_'/`\_/\_/\_/\_J\_/\_/\_/\_/V\-./\_,/H_/\_/\_/\-/

Cross Defendants.

 

ORDER OF DISMISSAL WITH PREJUDICE

 

This cause came on to be heard before the Honorable J. Danie] Breen, Judge of the United
States District Court of the Western District of Tennessee for the Western Division, upon the
announcement of the attorney for the Plaintiff, from all of which it appears to the Court as follows:

That this cause should be dismissed with prejudice and that each party shall bear its own
costS.

ALL OF WHICH IS, THEREFORE, ORDERED, ADJUDGED ANl) DECREED.

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_/DA IEL BREEN
§FRGP °“ istrict Court Judge

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Attomeys for laintiff (008490)

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Attorney for Defendant, :l`-rieare-(OO7194)

CERTIFICATE OF SERVICE
l hereby certify that a copy of the foregoing was forwarded, by U. S. Mail, postage prepaid, to

the attorneys for all interested parties and to any parties unrepresented by counsel on this the

§ dayof W ,2005/.

MWMM/

Mc‘CULLo§() GH & MCCULLOUGH

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02507 was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

